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               Exhibit A
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Herman, David F.




From:                              TerriAnne Benedetto <TBenedetto@seegerweiss.com>
Sent:                              Wednesday, August 30, 2017 8:46 PM
To:                                Scheff, Richard
Cc:                                Breslauer, Peter; Herman, David F.; Chris Seeger
Subject:                           RE: CSG


Richard:

We do not agree.

Thank you,
Terri

‐‐‐‐‐Original Message‐‐‐‐‐
From: Scheff, Richard [mailto:rscheff@mmwr.com]
Sent: Wednesday, August 30, 2017 8:07 PM
To: TerriAnne Benedetto <TBenedetto@seegerweiss.com>
Cc: Breslauer, Peter <pbreslauer@mmwr.com>; Herman, David F. <DHerman@mmwr.com>
Subject: CSG

Terri:

I understand that you are out of town but I wanted to let you know that we are willing to voluntarily provide you with a
list of our current clients, subject to a reservation of rights under Rule 45 and the entry of a protective order. We would
do this in return for you advising Judge Brody that your motion to compel was moot. This would not prevent you from
seeking discovery under Rule 45 following the September 19th hearing if Class Counsel believes further action is
appropriate as to our clients and Judge Brody agrees.

Our response will state that we have made this offer to Class Counsel. Please let me know you position. Thank you.




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